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IN THE UNITED sTATEs DISTRICT coURT " " /)m/ - y
FoR THE WESTERN DISTRICT oF TENNEssEE 5 i;;_:_::, j 1 32 z
WESTERN DIVISION ~ l
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UNITED STATES OF AMERICA

v.
No. 03cr20425-Ml
GEORGE ARMSTRONG

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

This cause came on for an Arraignment orL /4/%/£¢,:/ ZU, ZOQS . At
this time, the defendant did not appear. Records indicate that the defendant
may not have received timely notice of the arraignment The Government
requested a continuance of the arraignment The Court granted the request
and reset the Arraignment date to Wednesdav, April 27, 2005, @ 9:30 a.m.

before Magistrate ludge Tu M. Pham, Courtroom #6, 3rcl floor

 

 

 

lt is therefore ORDERED that the time period
of /Z//é&/ 55 through /4‘///27//§`§_ is excludable pursuant
to the Speedy Trial Act, as set out in 18 U.S.C. § 3161(h)(8) (A).
This _ZP___ day Of AQ rs l , 2005.
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/°r 32(!)) ;_-HC OC )\-/\/

 

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OnfMITED sTATl§s MAGISTRATE ]UDGE @

   

UNITED sEsTAT DISTRICT COURT - WESRTE DISTRICT TNNESSEE

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This notice confirms a copy of the document docketed as number 90 in
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Honorable J on McCalla
US DISTRICT COURT

